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                           UNITED STATES DISTRICT COURT

                          EASTERN DISTRICT OF LOUISIANA

JOHNNY TRAWEEK                                  :        CIVIL ACTION

                                                :        NO. 19-1384      SECTION “F” 1
VERSUS
                                                :        JUDGE MARTIN FELDMAN
MARLIN GUSMAN, ET AL.
                                                :
                                              MAGISTRATE JUDGE
                                              JANIS VAN MEERVELD
******************************************************************************
                                   ORDER

       Considering the Motion to Continue Trial and Reset Deadlines filed by Defendants,

Secretary James LeBlanc, and Ashley Jones, and for good cause shown:

       IT IS ORDERED that the Motion is GRANTED, that the pre-trial conference set for

November 26, 2019 and the trial set for December 16, 2019 in the above-entitled matter

are continued, and that this Honorable Court shall issue an amended scheduling Order

following a scheduling conference, to be set by the Court. No further delays will be allowed.



       NEW ORLEANS, LOUISIANA, this _____          August
                                    26th day of _______________, 2019.




                                ____________________________________________________
                                              JUDGE MARTIN FELDMAN
